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                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

 KATHERINE MUSLOW, ET AL.                      *                  CIVIL ACTION

 VERSUS                                        *                  NO. 19-11793

 BOARD OF SUPERVISORS OF                       *                  SECTION “M” (2)
 LOUISIANA STATE UNIVERSITY
 AND AGRICULTURAL AND                          *
 MECHANICAL COLLEGE, ET AL.

                                   ORDER AND REASONS

       Before me is Plaintiffs Katherine Muslow and Meredith Cunningham’s Motion to Compel

Defendant Board of Supervisors of Louisiana State University and Agricultural and Mechanical

College (“LSU”) to provide full and complete responses to Plaintiffs’ Interrogatories No. 4 and

No. 20 and Requests for Production of Documents Nos. 28-31 and 39. ECF No. 337. Defendant

LSU timely filed an opposition. ECF No. 339. No party requested oral argument under Local

Rule 78.1, and the Court finds oral argument is unnecessary for determination of this Motion.

       Having considered the record, the submissions and arguments of counsel, and the

applicable law, the Motion to Compel (ECF No. 337) is DENIED for the reasons stated herein.

I.     BACKGROUND

       The background of this matter is set forth in this Court’s numerous prior rulings. Briefly,

Plaintiffs Katherine Muslow and Meredith Cunningham formerly worked for LSU as “General

Counsel” and staff attorney at LSU (New Orleans), respectively. Plaintiffs’ employment ended in

June and July of 2019. They filed this suit on July 22, 2019, asserting, among other things, claims

of gender discrimination and retaliation under both Title VII and the Equal Pay Act. ECF No. 1;

No. 99, at 12–16.



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       A. Previous Motions to Continue Discovery Deadline

       After extensive pre-Answer motion practice, the Court entered a Scheduling Order on

December 9, 2020, establishing a July 9, 2021 discovery deadline. ECF No. 111, at 2. Plaintiffs

have filed several motions to extend various discovery deadlines, including a request in May 2021.

ECF No. 208. Judge Ashe continued only deadlines for the pretrial dispositive and Daubert

motions, pretrial conference and trial, specifically stating that the “discovery deadline of July 9,

2021 shall remain in place.” ECF No. 223, at 4. Judge Ashe then denied a motion to extend the

discovery deadline on June 25, 2021, and again denied a request for extension during a July 8,

2021, status conference. See ECF Nos. 246, 263, 283, 291.

       On September 21, 2021, Plaintiffs filed another motion for extension of deadlines,

specifically addressing the internal LSU audit upon which it now relies, arguing that the audit

report cites incidents of conflicts of interest, favoritism, nepotism and retaliation and includes facts

and findings of wrongdoings by Defendant Hollier and Plaintiff Muslow’s proposed comparator

Louis Colletta. ECF No. 320-1, at 2. Plaintiffs argued the audit contains references to emails and

statements responsive to previous discovery requests and asked Judge Ashe to “reopen discovery

as to the matters contained in the report” so that Plaintiffs may “fully investigate the audit report

and depose the defendants and witnesses regarding same.” Id. at 3–5. Judge Ashe denied the

request on September 22, 2021, “except as to scheduling and conducting on or before October 14,

2021, the depositions of Elizabeth Martina, Shael Wolfson, Leslie Schiff, Caren Goldberg, and

John Harman, as well as the Rule 30(b)(6) of the LSU Board . . . .” ECF No. 323, at 2.

       B. Plaintiffs’ Motion to Compel

       Two months after Judge Ashe’s September 22, 2021 ruling, Plaintiffs filed this Motion to

Compel full and complete responses from Defendant LSU to Plaintiffs’ Interrogatory Nos. 4 and



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20 and Requests for Production Nos. 28-31 and 39, which were served on December 16, 2020.

ECF Nos. 337-4, at 8; 337-13, 337-14. First, Plaintiffs argue that LSU’s responses, which were

limited to documents and information in the 2014–2019 time period, is insufficient based on this

Court’s October 8, 2021 decision allowing Rule 30(b)(6) deposition topics to extend past the 2019

date. ECF No. 337-4, at 2–3 (citing ECF No. 335 at 10). Conceding that their counsel previously

agreed with LSU to limit the written discovery requests at issue to 2014-19 period with regard to

complaints of gender discrimination, retaliation, nepotism, and hostile work environment,

Plaintiffs argue that this agreement was reached before the September 14, 2021 release of LSU’s

internal audit report. ECF No. 337-4, at 3. Plaintiffs contend that the audit discusses claims of

retaliation, nepotism, improper hiring practices, and favoritism and other transgressions by Hollier

and Colletta, and shows that relevant complaints were not disclosed to Plaintiffs in response to

Interrogatory No. 4 and/or Requests for Production Nos. 28, 29, 30, and 31. Id. at 4, 6. Plaintiffs

ask that Defendants be required to supplement their responses to include all responsive documents

of “complaints of sex discrimination, pay disparity, retaliation, or nepotism at LSUHSC-NO and

Skinner/Jones [from 2014] up until present.” Id. at 10.

       In addition to their request to now produce documents after the previously agreed 2014-19

period, Plaintiffs also ask the Court to overrule Defendants’ attorney-client and work product

privilege objections and require production of the draft response to Plaintiff Muslow’s EEOC

charge to determine if her job performance was mentioned in the draft. Id. at 11–15. Plaintiffs

also request production of documents responsive to Request for Production No. 39, arguing that

information in the audit regarding preferential treatment of male employees at LSU warrants the

supplementation of LSU’s response through the present. Id. at 17–18. Plaintiffs also object to

LSU’s response to Interrogatory No. 20 regarding support for their affirmative defenses. Id. at 19.



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       In its Opposition, Defendant LSU argues that this Motion is untimely, Plaintiffs have not

demonstrated good cause to justify discovery outside the discovery period, and Plaintiffs failed to

engage in the required Rule 37 “meet and confer” before filing this motion. ECF No. 339, at 1.

LSU recounts the extensive discovery practice, the numerous continuance requests, and Judge

Ashe’s decision denying Plaintiffs’ motion to extend discovery specifically when addressing the

LSU internal audit. Id. at 2–8. LSU states the parties held a Rule 37 meet and confer on February

27, 2021 after it sent initial responses to Plaintiffs’ first requests. Counsel for both parties

exchanged follow-up communications through February 26, 2021. Id. at 3. LSU asserts that they

have not heard from Plaintiffs’ counsel regarding LSU’s responses to the discovery requests at

issue since that time, and Plaintiffs filed this motion without a meet and confer or any advanced

notice. Id. at 2, 9. Defendant LSU asserts that it also fully and completely responded to the

interrogatories and requests for production at issue in accordance with the agreed resolution during

their Rule 37 conference held in February 2021 regarding these requests. Id. at 17, 19.

        LSU argues that Plaintiffs have no good cause to modify the scheduling order, LSU

delivered supplemental responses between February to July 2021, and the audit, which LSU

contends does not mention gender-based findings, addresses events occurring after Plaintiffs’

employment ended in 2019, and thus, Plaintiffs have not demonstrated how it contains proper

comparators or identical circumstances. Id. at 5, 14, 17. LSU also argues that, in the depositions

taken after the release of the audit, Plaintiffs had opportunities to obtain supplemental discovery

information, including LSU’s 30(b)(6) depositions, and that many of the deposition topics overlap

with the requests at issue. Id. at 6. LSU also requests a protective order and reasonable expenses

as a result of this untimely motion filed without a proper Rule 37 conference. Id. at 24.




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        In their reply, Plaintiffs argue that this motion is not an attempt to re-open discovery, but

rather simply to require LSU to supplement its prior responses to the specified discovery requests.

ECF No. 344, at 3. Plaintiffs further argue that, due to this Court’s October 8, 2021, Order allowing

depositions to address events through 2021, Defendants should have supplemented their prior

written discovery responses. Id. at 5. As to the Rule 37 conference, Plaintiffs cite a discussion of

the audit report held on September 20, 2021, and state that Defendants asserted that any documents

dated after Plaintiffs’ employment were irrelevant. Id. at 6. Plaintiffs also argue the relevancy of

the audit report, noting that it discusses nepotism, retaliation, and improper hiring practices, which

they contend are relevant to the gender and other claims. Id. at 7–8.

    C. APPLICABLE LAW AND ANALYSIS

        A. Rule 37’s Meet and Confer Requirement

        Rule 37(a)(1) of the Federal Rules of Civil Procedure authorizes the filing of a Motion to

Compel Discovery. It provides, in pertinent part:

            The motion must include a certification that the movant has in good faith
            conferred or attempted to confer with the person or party failing to make
            disclosure or discovery in an effort to obtain it without court action.

To ensure compliance with this Rule, this Court expressly requires the parties to provide detailed

information in the required Rule 37 certification, specifying:

            (1) how the required conference was scheduled,
            (2) who participated in the conference,
            (3) the date and time of the conference,
            (4) whether the conference was conducted by phone or in person,
            (5) the duration of the conference,
            (6) the specific topics that were addressed at the conference, and
            (7) whether any issues were resolved by the parties, and, if so, the terms of the
            resolution.1


1
  Motions & Oral Argument, The Honorable Donna Phillips Currault, UNITED STATES DISTRICT COURT EASTERN
DISTRICT OF LOUISIANA, http://www.laed.uscourts.gov/judges-information/judge/honorable-donna-phillips-currault
(last visited January 12, 2022).

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These instructions further direct that the “meet and confer [must be] either in person or by

telephone, not simply via email exchange.”2

         In this case, Plaintiffs did not include a Rule 37 certification, and they certainly did not

comply with this Court’s very specific requirements as to the handling and subject matter for the

required Rule 37 conference. Plaintiffs’ failure to engage in a fulsome meet and confer prior to

filing these motions constitutes sufficient reason in itself to deny this motion.3 Indeed, courts

routinely deny discovery motions for failure to comply with Rule 37(a)(1).4

         B. Post-Discovery Deadline Motions to Compel

         In addition, however, Plaintiffs filed this motion on November 22, 2021, which is over four

months after expiration of the July 9, 2021 discovery deadline. As courts in this district have

repeatedly recognized, “It is axiomatic that to complete discovery means that all disputes relative

to discovery . . . must be filed and resolved prior to the discovery deadline.”5 “This means that a

motion to compel discovery must be resolved, not just filed, by the discovery deadline.”6 Indeed,

the Fifth Circuit has confirmed the district court’s discretion to deny as untimely a motion filed

after the discovery deadline.7


2
  Id.
3
  Shaw Grp. Inc. v. Zurich Am. Ins. Co., No. 12-257, 2014 WL 4373197, at *3 (M.D. La. Sept. 3, 2014); see also
Forever Green Athletic Fields, Inc. v. Babcock Law Firm, LLC, No. 11-633 (M.D. La. July 2, 2014) (denying motion
to compel where defense counsel made a single attempt by email to meet and confer and did not do so in a good faith
effort to resolve the dispute without court intervention).
4
  See, e.g., Greer v. Bramhall, 77 F. App’x 254, 255 (5th Cir. 2003) (finding the district court did not abuse its
discretion in denying motion to compel for failing to follow Rule 37); D.H. Griffin Wrecking Co., Inc. v. 1031 Canal
Dev., L.L.C., No. CV 20-1051, 2020 WL 8265341, at *3 (E.D. La. Apr. 16, 2020) (citations omitted).
5
  See, e.g., Parkcrest Builders, LLC v. Hous. Auth. of New Orleans, No. 15-1533, 2017 WL 4156499, at *2 (E.D. La.
Sept. 19, 2017) (Roby, M.J.) (quoting Fairley v. Wal- Mart Stores, Inc., No. 15-0462, 2016 WL 2992534, at *1 (E.D.
La. May 24, 2016) (Roby, M.J.)); see also Rahman v. ExxonMobil Corp., No. CV 18-894-BAJ-RLB, 2020 WL
354320, at *10 (M.D. La. Jan. 21, 2020) (quashing document request as untimely); Hall v. State of Louisiana, No. 12-
657, 2014 WL 2560715, at *1 (M.D. La. June 6, 2014) (citations omitted) (holding discovery requests served on party
14 days before discovery deadline were untimely as the party had 30 days to respond to such discovery requests).
6
  Galliano Marine Serv., LLC v. Schumacher, No. 17-09868, 2018 WL 3970751, at *1 (E.D. La. June 4, 2018) (Roby,
M.J.).
7
  Brand Servs., L.L.C. v. Irex Corp., 909 F.3d 151, 156 (5th Cir. 2018) (citing Vann v. Gilbert, 482 F. App'x 876, 879
(5th Cir. 2012) (per curiam) (affirming summary judgment and finding no abuse of discretion in denying a motion to
compel where the scheduling order required all discovery to be completed by a specific date and the motion was filed

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         Under Rule 16(b)(4) of the Federal Rules of Civil Procedure, a scheduling order “may be

modified only for good cause and with the judge's consent.” Good cause “requires a showing that

the relevant scheduling order deadline cannot reasonably be met despite the diligence of the party

needing the extension.”8 The Fifth Circuit reviews the trial court’s decision to grant or deny a

motion to modify a discovery schedule for abuse of discretion.9 As Judge Ashe explained in

denying an earlier motion for extension in this case: “At some point, discovery must end. . . .

Otherwise, the case management process is rendered meaningless.”10

         The governing December 9, 2020, Scheduling Order in this case required that, with certain

exceptions granted by Judge Ashe in his September 22, 2021 Order, all discovery must be

completed by July 9, 2021. ECF Nos. 111, 323. Plaintiffs did not file this motion until November

22, 2021, four months after the discovery deadline. In it, Plaintiffs challenge Defendants’

responses issued much earlier in this litigation. Indeed, Defendant LSU produced its first privilege




after that date); Curry v. Strain, 262 F. App'x 650, 652 (5th Cir. 2008) (per curiam) (finding no abuse of discretion
where the district court dismissed a motion to compel in part because it was filed almost one month after the discovery
deadline)).
8
  Pool Prod. Distrib. Mkt. Antitrust Litig., 2014 WL 1154334, at *3 (citing S&W Enters., L.L.C. v. South Trust Bank
of Ala., NA, 315 F.3d 533, 535 (5th Cir. 2003) (quoting 6A CHARLES ALAN WRIGHT, ET AL., FEDERAL PRACTICE AND
PROCEDURE § 1522.1 (2d ed.1990))); see also Fucich Contracting, Inc. v. Shread-Kuyrkendall & Assocs., Inc., No.
18-2885, 2021 WL 6196978, at *1 (E.D. La. Dec. 30, 2021) (Ashe, J.) (citing Garza v. Webb Cty., 296 F.R.D. 511,
513 (S.D. Tex. 2014) (citing S&W Enters., L.L.C.,, 315 F.3dat 535)). The Fifth Circuit has identified a four-factor
balancing test to determine whether good cause exists to modify a discovery deadline: (1) the explanation for the
failure to adhere to the deadline; (2) the importance of the proposed modification of the scheduling order; (3) the
potential prejudice that could result from allowing the modification; and (4) the availability of a continuance to cure
that prejudice. Geiserman, 893 F.2d at 791 (citing Bradley v. United States, 866 F.2d 120, 125 (5th Cir. 1989));
accord Leza v. City of Laredo, 496 F. App'x 375, 376 (5th Cir. 2012); Betzel v. State Farm Lloyds, 480 F.3d 704, 707
(5th Cir. 2007). The Fifth Circuit has suggested that the Geiserman test is the appropriate analysis where a party seeks
to re-open discovery after the deadline has passed. Colonial Freight Sys., Inc. v. Adams & Reese, L.L.P., 524 F. App'x
142, 145 (5th Cir. 2013); see also Pool Prod. Distrib. Mkt. Antitrust Litig., 2014 WL 1154334, at *3.
9
  Million v. Exxon Mobil Corp., 837 F. App'x 263, 266 (5th Cir. 2020) (citing Reliance Ins. Co. v. La. Land & Expl.
Co., 110 F.3d 253, 257 (5th Cir. 1997)).
10
   Muslow v. Bd. of Supervisors of Louisiana State Univ., No. 19-11793, 2021 WL 4239079, at *2 (E.D. La. June 25,
2021) (citing Hughes v. Boston Sci. Corp., 2009 WL 3031680, at *2 (S.D. Miss. Sept. 17, 2009); see also Finalrod
IP, LLC v. John Crane, Inc., 2019 WL 2563840, at *3 (W.D. Tex. Mar. 22, 2019) (“At some point, the parties must
set aside their suspicions and discovery must end.”); Rocha v. Metro. Life Ins. Co., 2006 WL 8434159, at *2 (W.D.
Tex. Oct. 13, 2006) (“And, in any event, at some point in a litigation, discovery must end so the litigation may progress
to completion.”)).

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log on February 12, 2021 (and later four supplemental logs), yet Plaintiffs failed to hold a meet

and confer regarding same and filed this motion challenging the invocation of privilege in

November 2021. Plaintiff’s challenge is untimely. Plaintiffs’ Motion to Compel, particularly with

regard to privilege, Interrogatory No. 20, and Requests for Production No. 39, is simply too late,

and Plaintiff has failed to establish good cause necessary to modify the scheduling order.

         C. Rule 26(e)’s Duty to Supplement

         With regard to Interrogatory No. 4 and Requests for Production Nos. 28-31, Plaintiffs argue

that Defendant LSU should be required to supplement its responses pursuant to Fed. R. Civ. P.

26(e) to produce additional information for 2020-21. Rule 26(e) imposes a duty to supplement

prior discovery responses with newly discovered information even through the time of trial.11 Rule

26(e)’s duty to supplement, however, cannot be used to circumvent deadlines imposed by Rule

26(a) or a court’s scheduling order. “The purpose of rebuttal and supplementary disclosures is just

that–to rebut and to supplement. These disclosures are not intended to provide an extension of the

deadline by which a party must deliver the lion’s share of its [discovery] information.”12

         Plaintiffs gloss over the fact that, during their Rule 37 discussions in February 2021, they

agreed to limit their discovery requests to the period of 2014-19 for the written discovery at issue.13

Under Federal Rule of Civil Procedure 29(b), parties may stipulate to the “procedures governing

or limiting discovery,” so long as they do not alter the discovery timeline. 14 A stipulation is an


11
   Rule 26(e)(1) imposes upon all parties an ongoing obligation to supplement prior discovery responses “in a timely
manner if the party learns that in some material respect the disclosure or response is incomplete or incorrect, and if
the additional or corrective information has not otherwise been made known to the other party during the discovery
process . . . .” This ongoing duty to supplement previous answers, not to provide new discovery, is not subject to the
Scheduling Order deadline. Biggio v. H20 Hair, Inc., No. 15-6034, 2016 WL 7116025, *1, 2 (E.D. La. Dec. 7, 2016);
see also Eubanks v. Eubanks, No. 17-1217, 2017 WL 3380476, at *1 (E.D. La. Aug. 4, 2017).
12
   Sierra Club, Lone Start Chapter v. Cedar Point Oil Co. Inc., 73 F.3d 546, 571 (5th Cir. 1996) (addressing expert
disclosures).
13
   ECF No. 337-4, at 9 (acknowledging their counsel’s agreement to limit responses to 2014-2019).
14
   Fed. R. Civ. P. 29(b); see also In re Carney, 258 F.3d 415, 419 (5th Cir. 2001); see also Riley v. Walgreen Co., 233
F.R.D. 496, 500 (S.D. Tex. 2005) (citing FED. R. CIV. P. 29).

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agreement between counsel respecting a matter before the court. The purpose of allowing such

party agreements is to increase the efficiency of litigation.15 Based on their stipulation, the parties

proceeded to engage in extensive written discovery. Notably, in this motion, Plaintiffs do not

suggest that LSU has failed to fully answer the discovery requests at issue with regard to the agreed

timeline of 2014–2019. If they had, that would be a proper Rule 26(e) supplementation request.

        Here, Plaintiffs seek information for a different time period than agreed (i.e., 2020-21), not

simply to supplement information for the stipulated 2014-19 time period. Thus, Plaintiffs are now

asking this Court to modify the parties’ stipulation and re-open discovery to allow Plaintiffs to

obtain additional discovery for the 2020-21 time period despite their earlier agreement to limit that

discovery to 2014-19. Contrary to Plaintiffs’ contention, this Court’s October 8, 2021 Order

addressing topics during the Rule 30(b)(6) deposition does not justify a late modification of the

parties’ stipulation regarding written discovery to re-open discovery for a new time period.

        Moreover, Plaintiffs’ motion appears to seek from the undersigned the same relief

previously denied by Judge Ashe in response to their September 21, 2021 motion. ECF No. 320.

In that motion, Plaintiffs sought to extend the discovery deadline and asked Judge Ashe to allow

their experts to review the facts and findings of the audit to determine if supplements are necessary

and to depose defendants and witnesses regarding the audit. ECF No. 320-1, at 3–4. Judge Ashe

explicitly stated he reviewed their motion, which attached and addressed the LSU audit report

(ECF No. 320-5), when he denied that request. ECF No. 323, at 1. This Court will not now modify

the parties’ stipulation of the 2014-19 time period to order supplemental responses that, for the

first, time, entail discovery regarding additional years after Plaintiffs’ termination (2020-21),

particularly when Judge Ashe has already denied their request to re-open discovery based on the


15
 See Garza v. Webb Cnty, Tex., 296 F.R.D. 511, 512 (S.D. Tex. 2014); Fed. R. Civ. P. 29(b), Advisory Committee
Notes to 1993 Amendments.

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2021 LSU audit.16 In light of Judge Ashe’s previous Order addressing the audit report and the

parties’ stipulation as to the relevant time period for purposes of the discovery at issue in this

motion, Defendant LSU is not obliged to provide supplemental discovery responses to include, for

the first time, information after the agreed 2014-19 time period.

IV.       CONCLUSION

          In addition to failing to conduct the required Rule 37 conference, Plaintiffs’ motion to

compel raising objections to Defendant LSU’s discovery responses (i.e., privilege log affirmative

defense response) is untimely. This motion was filed four months after expiration of the discovery

deadline. To the extent that Plaintiffs purport to seek additional documents in response to

Interrogatory No. 4 and Requests for Production Nos. 28-31 for the 2020-21 time period rather

than the stipulated 2014-19 period, Plaintiffs are not seeking supplementation under Rule 26(e).

Rather, Plaintiffs are asking to re-open discovery to obtain information beyond their agreed 2014-

19 period to discover information for a different, later time period (i.e., 2020-21). Judge Ashe has

already denied Plaintiffs’ request to re-open discovery based on the audit report. ECF No. 323.

          Accordingly, for these reasons as more fully set forth herein,

          IT IS ORDERED that Plaintiffs’ Motion to Compel (ECF No. 337) is DENIED as stated

herein.

                                       14th day of January, 2022.
          New Orleans, Louisiana, this _____


                                                              ___________________________________
                                                                  DONNA PHILLIPS CURRAULT
                                                              UNITED STATES MAGISTRATE JUDGE



16
  Given that Judge Ashe has previously denied Plaintiffs’ requests to extend the discovery deadline (e.g., ECF No.
323), this Court need not address each factor of Rule 16(b)’s “good cause” analysis. Million v. Exxon Mobil Corp.,
837 F. App'x 263, 266 (5th Cir. 2020) (citing Reliance Ins. Co. v. La. Land & Expl. Co., 110 F.3d 253, 257 (5th Cir.
1997)); Geiserman v. MacDonald, 893 F.2d 787, 790 (5th Cir. 1990).

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